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            EXHIBIT B
        Case 1:21-cv-04866-WMR Document 1-2 Filed 11/29/21 Page 2 of 14




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   P\IRUPHUFXUUHQWHPSOR\HU 7KH$QWKHP&RPSDQLHV,QF ³$QWKHP´ DQGDQ\RWKHUUHODWHG
   SHUVRQVHQWLWLHVVXEVLGLDULHVRUDIILOLDWHVWRUHFRYHURYHUWLPHSD\

 , KDYH ZRUNHG IRU $QWKHP DV D 8WLOL]DWLRQ 0DQDJHPHQW 1XUVH 8WLOL]DWLRQ 5HYLHZ 1XUVH
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   SULPDULO\SHUIRUPLQJPHGLFDOQHFHVVLW\UHYLHZVZLWKLQWKHSDVWWKUHH\HDUV

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   ZLWKRXWUHFHLYLQJ FRPSHQVDWLRQ IRUP\RYHUWLPHKRXUVZRUNHG

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   PDWWHU WR DVVHUW WKHVH FODLPV DJDLQVW $QWKHP DQG DQ\ RWKHU UHODWHG SHUVRQV HQWLWLHV
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 , XQGHUVWDQG WKDW , PD\ ZLWKGUDZ P\ FRQVHQW WR SURFHHG ZLWK P\ FODLPV DW DQ\ WLPH E\
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   QRWLI\LQJWKHDWWRUQH\VKDQGOLQJWKLVPDWWHU

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                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                                       3ULQW1DPH
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                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                       3ULQW1DPH
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       ,QIRUPDWLRQ%HORZ:LOO%H5HGDFWHGLQ)LOLQJVZLWKWKH&RXUW3OHDVH3ULQWRU7\SH




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                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                       3ULQW1DPH
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       Case 1:21-cv-04866-WMR Document 1-2 Filed 11/29/21 Page 12 of 14




__________________________________________________________________

                          THE ANTHEM COMPANIES, INC.
                           PLAINTIFF CONSENT FORM
______________________________________________________________________________

1. I consent to make a claim under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. against
   my former/current employer, The Anthem Companies, Inc., (“Anthem”) and any other related
   persons, entities, subsidiaries, or affiliates, to recover overtime pay.

2. I have worked for Anthem as a Utilization Management Nurse, Utilization Review Nurse,
   Medical Management Nurse, Nurse Reviewer, Nurse Reviewer Associate, or similar job title,
   primarily performing medical necessity reviews within the past three years.

3. During the past three years, there were occasions when I worked over 40 hours per week
   without receiving compensation for my overtime hours worked.

4. If this case does not proceed collectively, then I also consent to join any subsequent action or
   matter to assert these claims against Anthem and any other related persons, entities,
   subsidiaries, or affiliates.

5. I understand that I may withdraw my consent to proceed with my claims at any time by
   notifying the attorneys handling this matter.

        4/23/2019
Date: ___________________                    ____________________________________
                                             Signature
                                                   Patrice Leflore
                                             ____________________________________
                                             Print Name
______________________________________________________________________________
       Information Below Will Be Redacted in Filings with the Court. Please Print or Type.




Return this form by           Nichols Kaster, PLLP, Attn: Rachhana T. Srey
fax, email or mail to:        Fax: (612) 215-6870
                              Email: forms@nka.com
                              Address: 4600 IDS Center, 80 S. 8th Street, Minneapolis, MN 55402
                              Web: www.nka.com
     Case 1:21-cv-04866-WMR Document 1-2 Filed 11/29/21 Page 13 of 14




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